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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


 BROWSERKEY, LLC,
                                                       Case No. 2:24-cv-00800-JRG-RSP
                       Plaintiff,

        v.

 WELLS FARGO & CO.,

                       Defendant.


              DEFENDANT’S RULE 7.1(a)(1) DISCLOSURE STATEMENT

       Pursuant to Rule 7.1(a)(1) of the Federal Rules of Civil Procedure, Defendant Wells Fargo

& Co. (“Wells Fargo”) hereby states:

       Wells Fargo is a publicly-held corporation. Wells Fargo has no parent corporation and no

publicly-held corporation owns 10% or more of its stock.


  Dated: November 20, 2024                         Respectfully submitted,

                                                   /s/ Erik J. Halverson
                                                   Erik J. Halverson
                                                   Bar No. 333492CA
                                                   K&L GATES LLP
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                                                   Attorney for Defendant Wells Fargo & Co.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 20, 2024, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                                   /s/ Erik J. Halverson
                                                   Erik J. Halverson




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